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IN THE UNITED STATES DISTRICT COURT 05 JUM ..9 PH _
WESTERN DISTRICT OF TENNESSEE 2' h 7
WESTERN DIVISION FZGBE »
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""~‘ W»*" its testa-bids
BOBBIE CARR,
Plaintif`f,
vs. No. 03-2569-D/P

HOME TECH SERVICES, CO. INC., et al.,

Defendants.

 

ORDER GRANTING NOVASTAR MORTGAGE, INC.’S
MOTION FOR EXTENSION OF TIME
TO REQUEST RECONSIDERATION OR IN THE ALTERNATIVE
TO RENEW MOTION TO COMPEL

 

Before the Court is the Motion of Defendant, NovaStar Mortgage, Inc. (“NovaStar”), for
an extension of time to request reconsideration of the Order filed May 25, 2005. Docl<et #342.
In that Order, the Court granted NovaStar’s Motion to Colnpe] Discovery on its Second Set of
Document Requests and Interrogatories (“Motion to Compel”). In the alternative, NovaStar
respectfully requests that it be granted leave to renew its Motion to Compel.

Upon due consideration, it appears that NovaStar’s Motion should be granted

IT IS THEREFORE, ORDERED, ADJUDGED, AND DECREED that the Motion of
NovaStar Moltgage, Inc., is Granted.

’”C:`/\

UNITED sTA'iEs MAGISTRATE JUDGE

 

DATE: 5\>\3~ 0\i 74\°>§"_

Tlvis document entered on the docket sheet in com |Ianca
with ama 53 and/or 79(3) FHCP on __\.lL*i§§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 348 in
case 2:03-CV-02569 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

